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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 08-10071-CR-MOORE/SIMONTON

  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  DIDIER GONZALEZ-VASQUEZ,

        Defendant.
  ______________________________/

                           ORDER GRANTING DEFENDANT’S MOTION
                      FOR AUTHORIZATION TO TAKE FOREIGN DEPOSITIONS

         Presently pending before the Court is the Defendant’s Motion for Authorization to

  Take Foreign Depositions (DE # 78). The Government has filed a Response to the Motion

  (DE # 83). This motion is referred to the undersigned Magistrate Judge (DE # 47).

         On September 26, 2008, Defendant Didier Gonzalez-Vasquez (“Vasquez”) was

  charged with twenty-one Counts in an Indictment alleging that on or about May 27, 2008,

  Mr. Vasquez conspired with a co-Defendant to encourage and induce twenty aliens to

  enter and reside in the United States by attempting to transport the aliens from Cuba to

  the United States on a sea vessel in violation of 8 U.S.C. § 1324(a)(1)(A)(iv) (DE # 1). On

  August 12, 2009, the Defendant was appointed counsel to represent him pursuant to the

  Criminal Justice Act (“CJA”)(DE # 52).

         In the instant Motion, counsel for the Defendant requests pursuant to Federal

  Rule of Criminal Procedure 15(a)(1) that he be authorized to take the depositions in Cuba

  for use at trial of two of the persons who were allegedly aboard the subject vessel and

  were returned, along with the other aliens on the vessel, to Cuba by the United States

  Government. Counsel also requests that the Government pay for the expenses pursuant
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  to Rule 15(d). In its Response to the Motion, the Government indicates that it does not

  object to the Defendant’s request. For the following reasons, the undersigned grants

  the Defendant’s Motion.

         Federal Rule of Criminal Procedure 15, Depositions, provides, in relevant part,

         (a) When Taken.

         (1) In General. A party may move that a prospective witness be deposed in
         order to preserve testimony for trial. The court may grant the motion
         because of exceptional circumstances and in the interest of justice.

  The Rule further provides,

         d) Expenses. If the deposition was requested by the government, the court
         may--or if the defendant is unable to bear the deposition expenses, the
         court must--order the government to pay:

         (1) any reasonable travel and subsistence expenses of the defendant and
         the defendant's attorney to attend the deposition; and

         (2) the costs of the deposition transcript.


  Fed.R.Crim.P. 15. In United States v. Ramos, 45 F.3d 1519 (11th Cir. 1995), opinion after

  remand, 179 F.3d 1333 (11th Cir. 1999), a case cited by the Government in its Response,

  the Eleventh Circuit initially remanded and subsequently reversed and remanded a case

  where the district court denied a defendant’s request pursuant to Fed.R.Crim.P. 15 to

  depose a witness in Colombia who had been deported five days before the defendant

  sought to depose him. Upon initial review, the Appellate Court applied three factors

  previously set forth by the Court in United States v. Drogoul, 1 F.3d 1546, 1554 (11th Cir.

  1993) to assess whether exceptional circumstances existed to authorize the deposition

  pursuant to Rule 15. Specifically the Court examined: 1) whether the witness was

  unavailable to testify at trial; 2) whether injustice would result because testimony

  material to the movant’s request would be absent; and 3) whether countervailing factors

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  rendered taking the deposition unjust to the nonmoving party. Ramos, 45 F.3d at 1522-23

  (citing United States v. Drogoul, 1 F3d. 1546, 1554 (11th Cir. 1993)). The Appellate Court

  concluded that based upon its analysis of the three factors, the district court’s denial of

  the request to depose the witness was error and remanded the case to the district court

  to determine whether that error was harmless. Id. at 1523-24. On remand, the district

  court determinated that the error was harmless; and, on the defendant’s appeal of that

  finding, the Eleventh Circuit reversed and remanded the case again to the district court,

  opining that where the testimony relates to the determinative issue of intent, the

  exclusion of that evidence is not harmless.1 Ramos, 179 F.3d at 1336.

         In this case, in support of its Motion, Defendant has submitted letters from the

  two prospective deponents wherein they describe the circumstances surrounding their

  departure from Cuba and assert that they were rescued while at sea by the vessel at

  issue in this case when the boat they left Cuba on began to take on water (DE # 78 at 2).

  Defendant argues that such testimony demonstrates the Defendant’s lack of assistance,

  knowledge, planning or participation in the migrants’ attempt to reach the United States.

  The Government has conceded in its Response that although the rescue of the migrants

  does not in and of itself constitute a defense against the instant charges, a claim of

  rescue may be a part of a larger theory of the Defendant’s case.

         Applying the Drogoul factors to the facts of the case at bar, the undersigned

  concludes that exceptional circumstances exist in this case to permit the witnesses to

  be deposed in order to have their testimony preserved for trial. In particular, first, much


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            The Eleventh Circuit also concluded that the district court applied the wrong
  standard by evaluating whether the Defendant was entitled to a new trial pursuant to
  Fed.R.Crim.P. 33, rather than applying the harmless error standard under Fed.R.Crim.P.
  52. Id at 1336.

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  like Ramos, it is uncontested that the witnesses who were repatriated to Cuba are not

  available to testify at trial. Second, the Defendant has suggested and supported through

  the submission of written statements that the witnesses that it seeks to depose will

  demonstrate a lack of assistance, knowledge, planning or participation in the migrants’

  attempt to reach the United States by the Defendant, which clearly could be material to

  the Defendant’s defense. Also, there is no evidence, and the Government has not

  indicated otherwise, that taking the depositions would be unjust to the Government.

         Finally, the undersigned notes as required by Rule 15(d) that because the

  Defendant has already been found indigent and appointed CJA counsel, he is unable to

  bear deposition expenses associated with conducting depositions in Cuba. Therefore,

  based upon the facts as presented in the Defendant’s Motion, as well as the lack of

  opposition by the Government to the Motion, the undersigned concludes that this case

  presents exceptional circumstances that in the interest of justice warrant granting the

  Defendant’s requested relief.

         It is therefore

         ORDERED AND ADJUDGED that the Defendant’s Motion for Authorization to

  Take Foreign Depositions (DE # 78) is GRANTED. Counsel for Defendant is authorized

  to take the depositions of Yaimi Pelaez and Yoslevi Celestin in the Republic of Cuba for

  utilization at trial in this cause. Pursuant to Fed.R.Crim.P. 15(d), the expenses

  associated with the depositions, including the travel and subsistence expenses of

  Defendant’s counsel and his investigator, as well as the costs associated with the taking




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  of the depositions and the production of a transcript, shall be borne by the government.

        DONE AND ORDERED in chambers in Miami, Florida on October 1, 2009.




                                           ANDREA M. SIMONTON
                                           UNITED STATES MAGISTRATE JUDGE


  Copies furnished via CM/ECF to:
  The Honorable K. Michael Moore
         United States District Judge
  All counsel of record




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